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                        EXHIBIT 5
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :      Case No: 21-CR-00377 (BAH)
                                          :
              v.                          :
                                          :
ANTHONY ROBERT WILLIAMS,                  :
                                          :
                       Defendant.         :

                                    VERDICT FORM

Count One: Obstruction of an Official Proceeding and Aiding and Abetting
           (18 U.S.C. § 1512(c)(2) and 2)



              Guilty                             Not Guilty

Count Two: Entering and Remaining in a Restricted Building or Grounds
           (18 U.S.C. § 1752(a)(1))



              Guilty                             Not Guilty

Count Three: Disorderly and Disruptive Conduct in a Restricted Building or Grounds
             (18 U.S.C. § 1752(a)(2))



              Guilty                             Not Guilty


Count Four: Disorderly Conduct in a Capitol Building
            (40 U.S.C. § 5104(e)(2)(D))



              Guilty                             Not Guilty
        Case 1:21-cr-00377-BAH Document 82-5 Filed 05/18/22 Page 3 of 3




Count Five: Parading, Demonstrating, or Picketing in a Capitol Building
            (40 U.S.C. § 5104(e)(2)(G))



              Guilty                             Not Guilty




Date:         June/July ____, 2022
                                                 Signature of Foreperson




                                             2
